                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       at WINCHESTER

 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 4:11-cr-16
 v.                                                     )
                                                        )       MATTICE / LEE
 DANNY RAY SIMMONS, JR.                                 )

                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the fourteen-count

 Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

 One, that is of conspiracy to manufacture and distribute five (5) grams or more of methamphetamine

 (actual) or fifty (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser included offense of the charge in Count

 One of the Indictment, that is of conspiracy to manufacture and distribute five (5) grams or more of

 methamphetamine (actual) or fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

 §§ 846 and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement until

 sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 120].

 Neither party filed a timely objection to the report and recommendation. After reviewing the record,

 the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 120] pursuant

 to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment



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             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to manufacture and distribute five (5) grams or more of

             methamphetamine (actual) or fifty (50) grams or more of a mixture and substance

             containing a detectable amount of methamphetamine, a Schedule II controlled

             substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to manufacture and distribute five (5) grams or

             more of methamphetamine (actual) or fifty (50) grams or more of a mixture and

             substance containing a detectable amount of methamphetamine, a Schedule II

             controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, October 31, 2011 at 2:00 p.m. before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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